           Case 1:15-vv-00575-UNJ Document 10 Filed 09/18/15 Page 1 of 1



                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS
                                     No. 15-575V
                                Filed: August 25, 2015

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CAMERON MOORE and               *
LAURA MOORE, on behalf of minor *
Child, L.M.,                    *
                                *
               Petitioners,     *                         Order Concluding Proceedings, Vaccine
                                *                          Rule 21(a).
v.                              *
                                *
SECRETARY OF HEALTH             *
AND HUMAN SERVICES,             *
                                *
               Respondent.      *
                                *
****************************

                             ORDER CONCLUDING PROCEEDINGS1

Gowen, Special Master:

       On August 20, 2015, petitioner filed a motion for voluntary dismissal pursuant to
Vaccine Rule 21 (a). Pursuant to 42 U.S.C. § 300aa-21(a), this case is hereby
dismissed without prejudice. The Clerk of the Court is instructed that a judgment
shall not enter in the instant case pursuant to 42 U.S.C. § 300aa-21(a)(3) .

IT IS SO ORDERED.

                                                   s/Thomas L. Gowen
                                                   Thomas L. Gowen
                                                   Special Master




1
  Because this unpublished order contains a reasoned explanation for the action in this case, I intend to
post it to the United States Court of Federal Claims' website, in accordance with the E-Government Act of
2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note
(2006)). In accordance with Vaccine Rule 18(b), petitioner has 14 days to identify and move to delete
medical or other information, that satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the
rule requirement, a motion for redaction must include a proposed redacted decision. If, upon review, I
agree that the identified material fits within the requirements of that provision, I will delete such material
from public access.
